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                United States Court of Appeals
                                For the First Circuit
                                    _____________________
 No. 17-8030

     BRUCE SMITH; PAUL JOSEPH; MARTIN JOSEPH; KIM GADDY; BRIAN KEITH
        LATSON; LEIGHTON FACEY; MARWAN MOSS; LATEISHA ADAMS,

                                     Plaintiffs, Respondents,

                           JOHN M. JOHNSON; ROBERT TINKER,

                                            Plaintiffs,

                                                v.

                              CITY OF BOSTON, Massachusetts,

                                     Defendant, Petitioner.
                                     __________________

                                             Before

                                    Howard, Chief Judge,
                             Thompson and Kayatta, Circuit Judges.
                                   __________________

                                         JUDGMENT

                                     Entered: April 17, 2019

        The Petition for Permission to Appeal is denied.


                                                      By the Court:

                                                      Maria R. Hamilton, Clerk




 cc:
 Stephen S. Churchill
 Harold L. Lichten
 Benjamin Weber
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        Case 1:12-cv-10291-WGY
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 Kay H. Hodge
 Geoffrey Robbins Bok
 Amy E. Condon
 John Matthew Simon
 Nicole Ilse Taub
 Robert Lawrence Quinan Jr.
